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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 TOB LLC                     )
                             )                      Case No. 1:23-cv-3378
 v.                          )
                             )                      Judge: Hon. Thomas M. Durkin
 THE PARTNERSHIPS and        )
 UNINCORPORATED ASSOCIATIONS )                      Magistrate: Hon. Gabriel A. Fuentes
IDENTIFIED ON SCHEDULE A     )
                             )



      PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF A (1) TEMPORARY
     RESTRAINING ORDER, (2) ASSET RESTRAINING ORDER, (3) EXPEDITED
        DISCOVERY ORDER, AND (4) SERVICE OF PROCESS BY EMAIL


       Plaintiff, TOB LLC seeks entry of an ex parte (1) Temporary Restraining Order, (2)

Asset Restraining Order, (3) Expedited Discovery Order, and (4) Service of Process by Email

Order on an action arising out of 35 U.S.C. § 271, 15 U.S.C. § 1114, Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a), and the Illinois Uniform Deceptive Trade Practices Act, 815

ILCS § 510. A Memorandum of Law in Support is filed concurrently with this Motion.


Dated this 1st of June, 2023.        Respectfully submitted,


                                            By:    s/David Gulbransen/
                                                    David Gulbransen
                                                    Attorney of Record

                                                    David Gulbransen (#6296646)
                                                    Law Office of David Gulbransen
                                                    805 Lake Street, Suite 172
                                                    Oak Park, IL 60302
                                                    (312) 361-0825 p.
                                                    (312) 873-4377 f.
                                                    david@gulbransenlaw.com
